  Case 16-27238        Doc 45  Filed 07/18/17 Entered 07/27/17 10:48:48                Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                         )                BK No.:    16-27238
Yashica Spellman                               )
                                               )                Chapter: 13
                                               )
                                                               Honorable Carol Doyle
                                               )
                                               )
               Debtor(s)                       )

                   ORDER MODIFYING THE PLAN POST CONFIRMATION



THIS MATTER coming to be heard on the DEBTOR'S MOTION TO MODIFY, the Court having
jurisdiction, with due notice having been given to all parties in interest, the Court orders as follows:

  IT IS SO ORDERED:

 1. The Debtor's plan is modified post-confirmation by increasing the plan payment to $2,130 per
month until the end of the plan commencing with the July 2017 payment.




                                                            Enter:



                                                                     Honorable Carol A. Doyle
Dated: July 18, 2017                                                 United States Bankruptcy Judge

 Prepared by:
 David H. Cutler, esq.
 Counsel for Debtor(s):
 Cutler & Associates, Ltd,
 4131 Main St.
 Skokie, IL 60076
 Phone: (847) 673-8600
